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                      UNITED STATES DISTRICT COURT

                        DISTRICT OF MASSACHSUETTS
________________________________________________
LIBERTY MUTUAL INSURANCE COMPANY,                )
LIBERTY MUTUAL FIRE INSURANCE COMPANY, )
and LIBERTY MUTUAL PERSONAL                      )
INSURANCE COMPANY                                )
                                                 )
       Plaintiffs,                               )
                                                 ) Civil Action No.:
v.                                               )
                                                 )
AFTERMATH SERVICES LLC and                       )
AFTERMATH HOLDINGS LLC                           )
                                                 )
       Defendants.                               )
________________________________________________)




                      COMPLAINT AND JURY DEMAND




                                                    Timothy W. Tapply
                                                    ttapply@brandtapply.com
                                                    Shahan J. Kapitanyan
                                                    skapitanyan@brandtapply.com
                                                    Brand & Tapply LLC
                                                    555 Washington Street, Suite 6
                                                    Wellesley, MA 02482
                                                    Phone: 781-431-7878
                                                    Fax: 781-431-7844




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VI.     SPECIFIC INSTANCES OF FRAUD

        a. Liberty Mutual Insured:      D.C.
           Liberty Mutual Claim No.:    046994265
           Date of Loss:                September 20, 2021

        b. Liberty Mutual Insured:      J.G.
           Liberty Mutual Claim No.:    044972139
           Date of Loss:                March 4, 2021

        c. Liberty Mutual Insured:      J.G.
           Liberty Mutual Claim No.:    046744998
           Date of Loss:                August 26, 2021

        d. Liberty Mutual Insured:      A.A.
           Liberty Mutual Claim No.:    048700219
           Date of Loss:                March 3, 2022

        e. Liberty Mutual Insured:      R.R.
           Liberty Mutual Claim No.:    047720305
           Date of Loss:                November 28, 2021


VII.    CAUSES OF ACTION

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         a. COUNT I:     VIOLATION OF 18 U.S.C. § 1962(c)

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                             COMPLAINT AND JURY DEMAND

Now come the Plaintiffs, Liberty Mutual Insurance Company, Liberty Mutual Fire Insurance

Company, and Liberty Mutual Personal Insurance Company (collectively referenced as “Liberty

Mutual”), by their attorneys, and allege as follows:

   I.      INTRODUCTION

   1. This action seeks to terminate an ongoing fraudulent scheme perpetrated by Aftermath

        Services LLC and Aftermath Holdings LLC (collectively referenced as “Aftermath”)

        against Liberty Mutual, and more broadly, against the insurance industry and

        unsuspecting family members, friends, and close contacts of loved ones who have passed

        (“contracting parties”).

   2. Furthermore, the action seeks to recover more than $8,500,000.00 that Aftermath has

        wrongfully obtained from Liberty Mutual through the submission of hundreds of

        fraudulent and unlawful claims, using invoices seeking reimbursement for phony,

        unnecessary, and deceptive charges levied in the cleanup or remediation of various

        biohazard losses, including unattended deaths, crime scenes, suicides, and other losses of

        human life which result in blood, body fluids, and other biological substances.

   3. The scheme targets families in their most vulnerable and darkest moments shortly after

        the discovery of the death of their loved ones in traumatizing and debasing conditions.

   4. Knowing that individuals in the targeted group would be susceptible to being taken

        advantage of, Aftermath intentionally deceived them, committing acts in furtherance of

        the object and purpose of the scheme.




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5. Conceding that some amount of these cleanup services is legitimately completed in the

   insured structures, the final invoices from Aftermath, submitted to Liberty Mutual,

   contain fraudulent, inflated, and illusory charges.

6. Ultimately, Aftermath Services intended these charges to be passed directly from

   Aftermath to Liberty Mutual, through the use of illusory contracts signed by people who

   may or may not have been Liberty Mutual policyholders, purported representatives of the

   policyholder’s estate, or people with no authority to enter into binding contracts on behalf

   of Liberty Mutual’s deceased policyholder.

7. As more fully described in this Complaint, a specific process was engineered by

   Aftermath to create overinflated and fraudulent charges, in furtherance of the scheme

   against Liberty Mutual, unsuspecting family members and friends of the policyholders,

   and the home insurance industry.

8. All of the acts and omissions of Aftermath described throughout this Complaint were

   undertaken intentionally.

9. In order to manufacture the large number of fraudulent invoices and remediation jobs

   necessary to financially benefit themselves, Aftermath trained and directed a network of

   employees to obtain insurance information and secure fully executed contracts from

   people signing Aftermath contracts through deceptive, unfair, and fraudulent means.

10. As discussed below, Aftermath at all relevant times has known that the charges levied

   within the invoices submitted, or caused to be submitted, to Liberty Mutual were

   fraudulent in that the charges:

       a. Involved phony services and charges that were not necessary, reparative, or in

           some cases, actually performed;



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       b. Were the result of illegal, deceptive, unfair, and manipulative conduct directed at

           people taking care of remediation or cleaning up of losses at Liberty Mutual

           insured properties;

       c. Violated the terms and conditions of the subject Liberty Mutual policies, under

           which they were purportedly submitted.

11. The chart annexed hereto as Exhibit 1 sets forth a representative sample of 82 claims,

   which outline the details of the fraudulent and unlawful claims for remediation and

   cleanup services that Aftermath submitted, or caused to be submitted, to Liberty Mutual.

12. Aftermath’s scheme dates back to at least January 2016 and has continued uninterrupted

   through the present day.

13. As a result of Aftermath’s scheme, between January 2016 and December 2021, Liberty

   Mutual has incurred damages in the form of payments of more than $8,500,000.00,

   including $6,700,000.00 in damages incurred by Liberty Mutual Insurance Company,

   $1,300,000.00 in damages incurred by Liberty Mutual Fire Insurance Company,

   $400,000.00 in damages incurred by Liberty Mutual Personal Insurance Company.

14. The damages are ongoing as Liberty Mutual and its policyholders have suffered, and will

   continue to suffer damages which exceed the jurisdictional limits of all lower courts.

15. Liberty Mutual is continuing to review its Aftermath claim files, including more than 500

   claims involving fraudulent and unlawful invoices for remediation and cleanup services

   that Aftermath submitted to Liberty Mutual, resulting in more than $8,500,000.00 in

   payments made to Aftermath.

16. Liberty hereby incorporates by reference the Affidavits of Bryan Fly, a Complex

   Investigator with Liberty Mutual’s Special Investigations Unit, Frank Macchione, a



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   former Senior Special Investigator with Liberty Mutual’s Special Investigations Unit, and

   the exhibits annexed thereto, for further evidence of Aftermath’s fraudulent scene. See

   Exhibit 2, Affidavits of Bryan Fly with associated attachments 1 – 3 and Frank

   Macchione.

17. In addition to money damages, Liberty Mutual seeks a declaration that it is not legally

   obligated to pay Aftermath for claims and invoices which have been submitted by

   Aftermath because the invoices were fraudulent, unlawful, and otherwise non-

   reimbursable in that they:

       a. Involved phony services and charges that were not necessary, reparative, or in

           some cases, actually performed;

       b. Were the product of illegal, deceptive, unfair, and manipulative conduct directed

           at people taking care of remediation or cleaning up of losses at Liberty Mutual

           insured properties;

       c. Violated the terms and conditions of the subject Liberty Mutual policies, under

           which they were purportedly submitted.

18. Furthermore, Liberty Mutual seeks exemplary damages in the form of treble damages

   pursuant to the Federal Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §

   1962 (“RICO Act”), and Massachusetts law concerning regulation of business practices

   for consumers protection, Massachusetts General Laws chapter 93A, section 11 as well as

   applicable attorney fees as available at law.




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II.      PARTIES

19. Liberty Mutual is a Massachusetts mutual holding company with its principal place of

      business at 175 Berkeley Street, Boston, MA 02116. Liberty Mutual is authorized to

      conduct business and to issue insurance policies in the state of Massachusetts.

20. Plaintiffs, Liberty Mutual Insurance Company, Liberty Mutual Fire Insurance Company,

      and Liberty Mutual Personal Insurance Company (collectively “Liberty Mutual”)

      are trade names used to distribute Liberty Mutual insurance products.

21. Other trade names which fall under the umbrella of Liberty Mutual include, but are not

      limited to, American Economy Insurance Company, American States, Consolidated

      Insurance Company, First National Insurance Company of America, General Insurance

      Company of America, Insurance Company of Illinois, Liberty Insurance Corporation,

      Liberty Lloyds of Texas Insurance Company, Liberty Mutual Mid Atlantic Company,

      LM Insurance Corporation, LM General Insurance Company, Montgomery Mutual

      Insurance Company, Safeco Insurance Company of America, SAFECO Insurance

      Company of Illinois, SAFECO Insurance Company of Indiana, Safeco Insurance

      Company of Oregon, The First Liberty Insurance Corporation, and Wausau General

      Insurance Company.

22. Plaintiffs share common resources and personnel for purposes of receiving

      communications from vendors and claimants, and for investigating and adjusting claims.

23. Each of the Plaintiffs was subjected to and the victim of the same unlawful practices by

      Aftermath.




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24. Aftermath Services LLC is a Delaware limited liability company, organized on December

   4, 2012, with its principal place of business in Aurora, Illinois, operating throughout the

   United States.

25. Aftermath Holdings LLC is a Delaware limited liability company, organized on January

   23, 2013, with its principal place of business in Aurora, Illinois, operating throughout the

   United States

26. Aftermath Services LLC and Aftermath Holdings LLC are collectively referred to herein

   as “Aftermath”.

27. Aftermath was organized on or about December 4, 2012. On information and belief,

   Aftermath advertises itself as a certified crime scene & biohazard cleanup service in

   public advertising.

28. Defendant Aftermath Services LLC is registered as a Foreign Limited Liability Company

   in Massachusetts, organized under the laws of Delaware, on December 18, 2012.

29. Defendant Aftermath Services LLC was also registered as a Foreign Limited Liability

   Company in Connecticut on December 17, 2012, in Pennsylvania and Ohio on December

   18, 2012, and in Texas on December 19, 2012, all organized under the laws of Delaware.

30. Aftermath caused fraudulent invoices for biohazard remediation and cleanup to be

   submitted to Liberty Mutual and other property insurers.

31. Aftermath engaged in violations of 18 U.S.C. §1962(c) by conducting its fraudulent

   affairs through a pattern of racketeering activity and violations of the federal wire fraud

   statute.

32. Aftermath, through its fraudulent actions, has been unjustly enriched in collecting

   payments for its invoices.



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33. Aftermath intentionally, substantially, and continuously engages in the above-referenced

       conduct by 1) sending communications to Liberty Mutual; 2) billing Liberty Mutual for

       services that Aftermath claims to have rendered to Liberty Mutual’s policyholders and

       contracting parties; and 3) demanding benefits from Liberty Mutual under Massachusetts-

       law contracts of home insurance.

34. Aftermath has also engaged in similar conduct throughout the United States.

35. At all times relevant hereto, Aftermath rendered services in the Commonwealth of

       Massachusetts and committed fraudulent, unfair, and deceptive acts set forth in Liberty’s

       Complaint, including but not limited to, the following claims identified in Exhibit 1:

          a. K.H, Claim No.: 033437174, DOL: March 12, 2016;

          b. J.R., Claim No.: 036543941, DOL: May 29, 2017;

          c. R.B., Claim No.: 039368949, DOL: March 2, 2019; and

          d. R.D, Claim No.: 044848139, DOL: March 19, 2021.

III.      JURISDICTION AND VENUE

36. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

       1332(a)(1) because the matter in controversy exceeds the sum or value of $75,000.00,

       exclusive of interest and costs, and is between citizens of different states.

37. Pursuant to 28 U.S.C. § 1331, this Court also has jurisdiction over the claim brought

       under 18 U.S.C. §§ 1961 et seq. (the Racketeer Influenced and Corrupt Organizations

       (“RICO”) Act) because they arise under the laws of the United States.

38. In addition, this Court has supplemental jurisdiction over the subject matter of the claims

       asserted in this action pursuant to 28 U.S.C. § 1367.




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39. Venue is appropriate in the Boston Division of the United States District Court for the

      District of Massachusetts pursuant to, among other things, 18 U.S.C. § 1965(a).

IV.       IMPACT OF DEFENDANT’S CONDUCT ON LIBERTY MUTUAL

40. Liberty Mutual insures thousands of homes nationwide and has been a major participant

      in the market for underwriting of home insurance for decades.

41. Liberty Mutual policies, in various forms across many states consistent with local laws,

      provide for reimbursement for services performed in biohazard remediation in homes

      made necessary by a loss. These policies allow for accurate, reasonable, and necessary

      charges and reimbursement for work performed in the insured homes, depending on the

      dwelling coverage limits.

42. Providers of these biohazard remediation and cleanup services can, and regularly do,

      provide bills and invoices to Liberty Mutual under applicable policies of insurance.

43. In a legitimate biohazard remediation claim, Liberty Mutual would be put on notice as

      soon as the loss is discovered and it is determined that cleanup or removal of materials is

      necessary in the home, affected by blood, body fluids, and other biological substances.

44. Liberty Mutual would also be put on notice before any demolition in the home was

      completed, including the tearing out of carpet, tile, drywall, and other affected materials

      in the home.

45. Liberty Mutual has established multiple means in order to facilitate a submission of a

      notice of loss. For example, an Insured can submit the notice of loss by telephone, email,

      or via the internet.




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46. In working with its Insured policyholder, service vendors, and contractors in the home,

     Liberty Mutual routinely receives and pays bills and invoices for services completed in

     the home, including cleanup by Aftermath.

47. In reviewing the bills and invoices received via interstate transfers consisting of email

     communications, written correspondence, and electronic facsimile, Liberty Mutual will

     request additional documentation and information supporting performance of the

     remediation services via electronic mail or facsimile.

48. Liberty Mutual was billed by Aftermath for remediation services, which Aftermath

     represented to Liberty Mutual were reasonable and necessary in the home, billed at costs

     involving equipment charges, chemical charges, personnel charges at an hourly rate

     completed by trained and qualified professionals, and other necessary and legitimate fees.

49. The representations made by Aftermath in their endeavor to be paid for services were

     material.

50. Liberty Mutual justifiably and detrimentally relied on false and misleading

     documentation provided by Aftermath, causing it to pay unwarranted and unsupported

     sums in coverage and causing it to incur unwarranted costs in investigating the insurance

     claims for legitimacy.

51. As outlined in the 82 representative claims identified to date, Aftermath has directly

     demanded payment of at least $2,000,000.00 between January 2016 and December 2021,

     including more than $800,000.00 in the last three years, and more than $94,000.00 for

     work purportedly done on Liberty Mutual-insured property in the state of Massachusetts

     (Exhibit 1).

V.      AFTERMATH’S UNFAIR AND DECEPTIVE PRACTICES



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a. Delayed Reporting of Claims to Foreclose Liberty Mutual’s Rights

   52. It is Aftermath’s regular business practice to delay a phone call, email or any other means

      of putting Liberty Mutual on notice that Aftermath personnel are at the insured property,

      have been requested to begin services by someone at the property, and/or have discussed

      contracts with the customer.

   53. Aftermath also fails to notify Liberty Mutual when it enters into a contract to conduct

      services at Liberty Mutual’s Insured Property.

   54. As evidenced by Aftermath “Customer Approved Time Sheets” when compared to

      Liberty Mutual’s claim notes commemorating the First Notice of Loss, Aftermath

      employees, at the direction of the Aftermath Supervisor, delay reporting losses and

      claims by one to two full days.

   55. Aftermath employees will also intentionally wait to call Liberty Mutual after business

      hours, when the after-hours emergency claim line is in effect, to report a loss.

   56. As outlined in Exhibit 1 under the First Notice of Loss (“FNOL”) data sections

      (Columns N – T) of the 82 sampled claims, 53 of the claims were reported one or more

      days after Aftermath’s entrance onto the property. Of the 17 claims actually reported on

      the same day Aftermath arrived, 5 of those claims were reported after-hours.

   57. This after-hours reporting of the First Notice of Loss ensures that an adjuster cannot be

      assigned immediately and thus will not have a chance to review the loss, claim, and

      potential coverage until hours to days later.

   58. In these multiple days of delayed reporting, Aftermath continues to purportedly render

      services at the property, conducting remediation, conducting tear-down of materials in

      the home including floors, walls, and furniture, and running up their fraudulent charges.



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   59. Aftermath employees will work a combined total of 4 to 40 hours and bill the hourly rates

      to Liberty Mutual without notice of the claim.

   60. Thereafter, Aftermath does not provide Liberty Mutual with the signed contract, any

      initial estimates, or any other documents hinting at the final cost of purported services in

      the Insured home until the job is complete and finished.

   61. Liberty Mutual does not receive a copy of any estimates, projected invoices or costs,

      supply cost sheets, or final invoicing for services until after the work is fully completed

      and days or weeks have elapsed.

   62. Aftermath’s delay in reporting the first notice of loss extinguishes Liberty Mutual’s

      ability to see the property prior to Aftermath conducting demolition, to document the

      condition of the home, and to undertake its own assessment of the measure of the

      damage, which prejudices Liberty Mutual’s assessment of the claim.

   63. Aftermath’s delay also ensures that Aftermath is able to perform excessive, unnecessary,

      and unwarranted demolition of Liberty Mutual’s insured properties unchecked and

      unchallenged by the insurance company.

   64. In this context, Aftermath submitted virtually all of its fraudulent invoices after it had

      begun the purported remediation services because Aftermath knew that 1) this time frame

      severely limited Liberty Mutual’s ability to verify the claims; and 2) it forced Liberty

      Mutual to rely on the invoices and other purportedly supportive documents from

      Aftermath.

b. Unlawful and Fraudulent Billing for Equipment and Supplies

   65. The following facts and figures have also been investigated and verified by Liberty

      Mutual employees, Bryan Fly and Frank Macchione (Exhibit 2).



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66. Within its final invoices, Aftermath provides an “Equipment and Supply Detail” which

   purportedly outlines the charges for specific materials, supplies, chemicals, and

   protective equipment used at the properties.

67. The equipment reports are redundant and without proper explanation or substantiation.

68. In adjusting claims, Liberty Mutual uses Xactimate® which is a software system for

   estimating the industry standard costs for building damage, repair and rebuilding costs in

   residential and small commercial structures.

69. For example, Xactimate prices for air scrubber use are $80.00 for 24-hour period of run

   time; however, Aftermath bills per calendar day, resulting in a double charge for the same

   24-hour period (Exhibit 1, Columns BC – BF).

70. This air scrubber $80.00 charge also factors in filters, for which Aftermath bills

   separately.

71. Aftermath charges between $3.93 and $6.82 each for simple red plastic bags which are

   used in the cleanup of biohazard materials (Exhibit 1, Columns EA – EC). Upon

   information and belief, a simple review of online results shows that these trash bags can

   be purchased in bulk and for far less than what Aftermath charges Liberty Mutual.

72. Aftermath charges $2.85 or $4.89 per single black garbage bag (Exhibit 1, Columns ED –

   EE). The same Husky 42 Gal. Contractor Bags (32-Count) could have been purchased at a

   public retailer for $25.00, or 78¢ each (https://www.homedepot.com/p/HUSKY-42-Gal-

   Heavy-Duty-Clean-Up-Bags-32-Count-HK42WC032B/100063659).

73. It is also notable that these charges have reliably increased over time as Aftermath’s scheme

   developed.




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74. Aftermath’s charges for Personal Protective Equipment (“PPE”) Suits used are subject to

   a similar inequitable and exploitive markup. Similar protective suits frequently sell for

   $7.68 a pair, while Aftermath has more recently billed these disposable suits at $98.63

   (Exhibit 1, Columns CZ – DA).

75. Aftermath employs similar markups when compared to the industry standard of Xactimate

   for:

          a. ATP swabs (10x the cost) (Exhibit 1, Columns EH-EI),

          b. leather gloves ($2.68 actual vs. $15.40 billed) (Exhibit 1, Columns CT-CU),

          c. Y/B Neoprene Chemical resistant gloves ($2.12 actual vs. $11.79 billed) (Exhibit

             1, Columns CP-CQ) and

          d. knee pads ($4.99 actual vs. $17.60 billed) (Exhibit 1, Columns DB-DC).

76. In addition, none of the supplies listed includes a manufacturer, model number, price per

   unit, or any other justification for the costs allocated to the insured.

77. Additional fraudulent charges presented to Liberty Mutual with no explanation, context,

   or support include the following:

          a. Weights and Measurements for Equipment $65.00

          b. Weights and Measurements for Disinfection of Equipment $48.50

          c. Special Equipment     $48.50 per job

          d. Overhead and Profit 10% of Invoice Subtotal

          e. Off-Site Demobilization       $375.00

          f. Truck Disinfection    $275.00

          g. Dispatch Fee $475.00

          (Exhibit 1, Columns AM – BB and BM – BN).



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   78. Liberty Mutual has demanded explanation or justification for this potpourri of fees, yet

      never received same.

c. Unlawful and Fraudulent Billing for Chemicals

   79. Contained in its invoices are also numerous charges for chemicals purportedly used in the

      remediation services completed by Aftermath and its employees; however, none of these

      supplies are inventoried, identified, or quantified, except in broad-strokes charges.

   80. Along with every invoice, Aftermath provides a document called the “Requirements and

      Best Practices for Trauma Cleaning and Biohazard Removal Companies.”

   81. This document claims that Aftermath uses specifically designed chemicals formulated to

      serve the biohazard remediation industry, a claim which is patently false.

   82. Additionally, the invoice indicates that a number of the chemicals Aftermath uses during

      cleanups are “proprietary.” However, the EPA indicates that none of the chemicals

      Aftermath uses are registered to Aftermath.

   83. The charges for these chemical supplies are extortionist, in addition to being unsupported.

   84. Aftermath invoices a chemical called Biotic Disinfectant that is billed at $84.93 an ounce.

      This works out to $10,871.04 per gallon (Exhibit 1, Columns DO-DP).

   85. The actual cost for Biotic Disinfectant is $19.67 per gallon, a markup of over 55,000%.

   86. Aftermath invoices a chemical called Biotic Solvent at $49.27/bottle. This Biotic Solvent

      is actually a product identified as Husky 910, which costs only $2.99/bottle (Exhibit 1,

      Columns DM-DN).

   87. Aftermath invoices a chemical called Biotic Odor Counteract at $53.66/bottle. This

      Biotic Odor Counteract is actually a product identified as Husky 603, which costs only

      $6.67/bottle (Exhibit 1, Columns DK-DL).



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   88. Aftermath invoices a chemical called Biotic Alive at $38.35/bottle. This Biotic Alive is

      actually a product identified as Husky 404, which costs only $0.92/gallon (Exhibit 1,

      Columns DG-DH).

   89. Aftermath invoices a chemical called Biotic FC at $46.33/can. This Biotic FC is actually

      a product identified as Husky 1240 Foaming Cleanser, which costs only $6/can (Exhibit

      1, Columns DS-DT).

d. Unlawful and Fraudulent Double Billing for Work

   90. Aftermath breaks down its billed personnel hours into separate descriptions including:

          a. Job Setup

          b. Hazard Safety & Site Assessment

          c. Biohazard Removal

          d. Content Manipulation

          e. Surface Preparation

          f. Cleaning / BioWash

          g. Path of Extraction

          h. Site Inspection/Breakdown

          i. Biohazard Waste Management

          j. Personal Property

   91. This breakdown of tasks is illusory and billed for the purpose of inflating the number of

      hours billed by Aftermath employees.

   92. The tasks describe are vague, lacking in specificity and represent an overlap of charges.

   93. The invoice contains no explanation of the task breakdowns or why Aftermath’s separate

      billing is reasonable.



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   94. Additionally, the invoice charges for labor on site and decontamination, despite the fact

       that decontamination is included in the hours already billed.

   95. Aftermath charges $78.61 per day for the use of face respirators. These respirators were

       not brand new for each job, but reused from job site to job site after cleaning and

       disinfection to reduce waste on Aftermath job sites. Aftermath then charges $129.00 to

       disinfect the respirators (Exhibit 1, Columns BK-BL and CK-CL).

   96. Aftermath charges $184.94 per hour for the use of a HEPA Vacuum. This vacuum is

       presumably not brand new for each job, but reused from job site to job site.

   97. Aftermath then charges $148.50 per day to disinfect the vacuum. In addition, Aftermath

       charges $83.56 for the filters used in the vacuum (Exhibit 1, Columns BE-BF and BT-

       BU).

   98. Charges are also levied for ATP testing, and again in the supplies invoice, resulting in

       duplicate billing (Exhibit 1, Columns AW-AX and EH-EI).

e. Unlawful and Fraudulent Billing for Services of Unskilled Staff

   99. After being contacted, Aftermath sends a supervisor and technicians to the home to

       complete an assessment, secure a contract, and begin the work as fast as possible.

   100.       The securing of signed contracts with these contracting parties is often done by

       Aftermath Supervisor through inducement, false promises of full payment by the home

       insurance carrier, and threats of harm to the home should the contracting party not allow

       Aftermath to complete the work.

   101.       Liberty Mutual’s policyholders and contracting parties indicated that they felt

       pressured by Aftermath personnel to sign the contract and start work immediately,

       despite the ongoing grief of death and their confusion at the process.



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102.       In certain claims, the contracting parties have specifically instructed Aftermath to

   not begin any work in the home unless and until coverage is accepted by Liberty Mutual.

103.       Despite these explicit demands from its customers, Aftermath did not do so, and

   in some cases, Aftermath lied to the contracting party about contact with Liberty Mutual.

104.       Thereafter, Aftermath personnel specifically instruct the contracting parties and

   insureds that they are not allowed to be in the home while Aftermath is conducting its

   remediation.

105.       This refusal to allow people into their own homes ensures that there are no

   witnesses to Aftermath’s fraudulent activities inside the home, or lack of activity.

106.       In multiple documents transmitted from Aftermath to both the contracting parties

   as well as Liberty Mutual, Aftermath claims that its staff is skilled in the biohazard

   remediation services, as well as certified in several OSHA regulations.

107.       This Aftermath document titled “Requirements and Best Practices for Trauma

   Cleaning and Biohazard Removal Companies” says that Aftermath personnel can show

   evidence of bloodborne pathogen training and compliance, respiratory protection training

   and compliance, hazardous communication training and compliance, and medical waste

   handling, transporting, and processing, among other things.

108.       These individuals have no training or specialized certifications.

109.       Aftermath’s training includes instructing its personnel to intentionally prolong the

   number of hours it takes to perform the cleaning services.

110.       Aftermath's personnel make representations or partial representations they know

   are false or misleading concerning the pricing, application of insurance coverage, and

   collection practices.



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111.       Shell-shocked, the grieving families, wanting to trust, rely on the false and

   misleading representations and sign the contract.

112.       Despite no evidence of its personnel’s training and certifications, Aftermath

   charges $285.00 per hour for a “Supervisor’s” time and $275.00 per hour for a “Certified

   Technician’s” time (Exhibit 1, Columns AA – AD).

113.       More recently and without justification to Liberty Mutual, Aftermath has raised

   its hourly rate in a September 2021 invoice to $325.00 per hour for a “Supervisor’s” time

   and $295.00 per hour for a “Certified Technician’s” time (Exhibit 1).

114.       Aftermath also falsely claims that it does not use sub-contractors.

115.       In reality, Aftermath uses vendors to complete its biowaste removal and charges

   Liberty Mutual as if Aftermath’s personnel had performed the work at Aftermath’s rates.

116.       In furtherance of their ongoing fraudulent scheme, Aftermath takes a number of

   the above-referenced actions which run counter to the interests of Liberty Mutual’s

   policyholders, their family members, and other people who assist in the wake of a tragic

   loss.

117.       At each and every point in the process, from the first contact to Aftermath to the

   final invoice presented to Liberty Mutual, Aftermath takes liberties with the truth and

   good faith in the interest of falsely inflating costs to be exacted under the applicable

   homeowner’s policy.

118.       Aftermath submits its false invoices and records to Liberty Mutual using the

   United States mail and Interstate wires.

119.       As set forth above, Liberty Mutual was not on notice of Aftermath’s fraudulent

   billing scheme and Aftermath never disclosed that it was fraudulently inflating its bills.



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VI.      SPECIFIC INSTANCES OF FRAUD

120.         Aftermath has issued demands for payment to Liberty Mutual as set forth in the

      table marked as Exhibit 1 filed herewith and incorporated by reference.

121.         Column D in Exhibit 1 titled “Loss State” represents the two-letter abbreviation

      of the state connected to Aftermath’s demand for payment, based on where the

      remediation was conducted under the policy issued by Liberty Mutual in Boston,

      Massachusetts.

122.         Column AE in Exhibit 1 titled “Total Labor Charged” represents the total amount

      charged by Aftermath for its hourly personnel charges, including an on-scene Supervisor

      and a number of Technicians.

123.         Liberty Mutual has repeated requested hourly billing sheets, evidence of break

      times and periods of meals, evidence of training, compliance, and background checks for

      its employees, yet been provided nothing by Aftermath to justify these hourly rates.

124.         Column AL in Exhibit 1 titled “Total Waste Charged” represents the total amount

      of waste transport boxes, the fees for disposal of the bio-waste, as well as any dumpsters

      used in the disposal of waste from the homes.

125.         In several instances, outlined below, Liberty Mutual has discovered that

      Aftermath has misrepresented the Waste Disposal processes, forged or altered Waste

      Manifest documents, and presented fraudulent claims of the bio-waste disposal process it

      contracts with vendors.

126.         Column BO in Exhibit 1 titled “Total Equipment Charged” represents the amount

      charged by Aftermath simply for its use of equipment, whether or not the equipment was




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   brand new and never utilized again by Aftermath, or whether the equipment was owned

   by Aftermath and thus able to be reused.

127.       Liberty Mutual has repeatedly requested invoices, receipts, order manifests, or

   any other documentation from the supplier, manufacturer, or anyone else in the chain of

   commerce who provided any equipment indicating the specific type, brand, model, or any

   other differentiating information for equipment used.

128.       Column CO in Exhibit 1 titled “Total Decontamination Charged” represents the

   amount charged by Aftermath for its unknown disinfection process, charged completely

   separate from the personnel hourly charges. Liberty Mutual has repeatedly requested

   information, training manuals, procedural guides, or other documentation explaining

   disinfection process and the rates charged which would provide explanation, rationale, or

   documentation explaining the rate that Aftermath Services charges for any equipment

   disinfection.

129.       Column DU in Exhibit 1 titled “Total Chemicals Charged” represents the amount

   charged by Aftermath for unknown chemicals, for which Liberty Mutual has repeatedly

   requested documents or information to prove the specific type, brand, model, or any other

   differentiating information for these chemicals but has been provided with nothing.

130.       Column EV in Exhibit 1 titled “Total Consumables Charged” represents the

   amount charged by Aftermath for miscellaneous supplies including knives, towels,

   brooms, plastic trash bags, and plastic sheeting, among other items that Aftermath

   purportedly uses at properties.

131.       Liberty Mutual has repeatedly requested proof of use of these items, their single-

   use nature, and Aftermath’s absolute claimed inability to reuse the items (despite being



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   renewable like a broom or paintbrushes) To date, Aftermath has provided no documents

   or information to prove the specific type, brand, or model for these items, nor the reason

   for the extortionist markup on the item charges (Exhibit 2).

132.       The following specific matters exemplify Aftermath’s scheme and the manner in

   which the scheme has recently come to Liberty Mutual’s attention through investigation

   in both Massachusetts and other states.

a. Liberty Mutual Insured: D.C.
   Liberty Mutual Claim No.: 046994265
   Date of Loss:             September 20, 2021

133.       On September 17, 2021, Liberty Mutual insured D.C. was discovered deceased in

   his home after an unknown period of time.

134.       At the relevant time, D.C. was a resident of Auglaize County, Ohio.

135.       Aftermath was called to the scene and worked on property from September 17 to

   September 24, 2021.

136.       Despite their awareness of the claim, the work to be done, and Liberty Mutual’s

   insuring of the home, the claim was not reported to Liberty Mutual until September 20,

   2021 at 7:39 pm.

137.       An invoice was then not presented to Liberty Mutual until September 28, 2021,

   despite Aftermath employees leaving the property on September 24, 2021.

138.       In this invoice, Aftermath presented a line item noted as a “Subcontractor Invoice”

   listed as $3,200.00.

139.       When asked to provide a support for this line item, Aftermath’s Trudy Martin

   provided a copy of an invoice dated September 30, 2021. This invoice listed $3,286.40 for

   junk hauling, a different amount than what was billed on September 28, 2021.



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140.       This invoice provided contained a number of other discrepancies, including the

   identifying information for the vendor, the date of service, the address of service, and the

   amount charged to Liberty Mutual.

141.       In this loss Liberty Mutual undertook a basic inquiry into the bill in order to confirm

   that under the subject policy of insurance, to confirm it was for fair and reasonable charges,

   and whether it was accurately billed by Aftermath.

142.       Liberty Mutual sought to verify that Aftermath was accurately representing this 1-

   800-GOT-JUNK invoice.         It did so by contacting the 1-800-Got-Junk vendor and

   requesting a simple copy of the invoice.

143.       The invoice provided directly by the 1-800-Got-Junk vendor indicated that the price

   for services rendered to Aftermath, purportedly passed on to Liberty Mutual, was only

   $1,318.00.

144.       Aftermath materially altered the invoice to raise the rate of its services, which were

   then charged to Liberty Mutual.

145.       Despite presenting a materially forged invoice, in an attempt to secure higher

   payment from Liberty Mutual under the policy, Aftermath continues to demand that the

   invoice is paid in full despite their fraudulent actions and material misrepresentations.

b. Liberty Mutual Insured: J.G.
   Liberty Mutual Claim No.: 044972139
   Date of Loss:             March 4, 2021

146.       On Thursday, March 4, 2021, Liberty Mutual insured J.G. was found deceased in

   her home, in bed.

147.       At the relevant time, J.G. was a resident of York County, Pennsylvania.




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148.       The Insured’s daughter, C.G. called Aftermath on the morning of March 4, 2021,

   and by 2:00 pm they arrived at the insured home in a big white van, lacking any identifying

   information or markings.

149.       After an hour, they came downstairs and spoke about what they recommended be

   done to the home, indicating that hazardous materials had seeped into the floors, potentially

   into the first-floor ceiling, joists, and into the lower level.

150.       It was at this point that Aftermath personnel recommended to her that the flooring

   be removed, but C.G. specifically declined. She did not support Aftermath’s

   recommendation of cutting into the floors for only a potential of biohazard.

151.       C.G. works in new home construction and thus was familiar with the construction

   of floors, levels of the home, and was comfortable in her decision, despite Steven Walters’

   insistence.

152.       Also in these initial conversations, C.G. specifically instructed that Aftermath

   obtain approval from Liberty Mutual before completing any services. This conversation

   took place after C.G. was provided with an initial estimate of roughly $23,000-$24,000

   (including cutting to the floor), and balked at the high price of services.

153.       After being assured by Aftermath supervisor that insurance would cover the cost

   and the Glovers would only be responsible for the deductible, this is the point when C.G.

   asked that approval for the initial estimate amount be expressly obtained from Liberty

   Mutual.

154.       Aftermath employee Steven Walters reported to the Insured’s Daughter that he had

   showed photographs to Liberty Mutual on March 4, 2021 and received “verbal approval”

   to begin work on the home.



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155.       The Insured’s daughter again reiterated that it was important to her that Liberty

   Mutual provide express approval of any services before said services were completed in

   the home.

156.       In response, Aftermath’s Supervisor on site advised C.G. that the work was pre-

   approved by Liberty Mutual and that he had spoken to someone at the insurance company.

157.       This representation by Steven Walters was false.

158.       This loss was not reported to Liberty Mutual until March 5, 2021 at 9:33 am, at

   which point Aftermath had been on the scene for a day and had half-completed the

   services.

c. Liberty Mutual Insured: J.G.
   Liberty Mutual Claim No.: 046744998
   Date of Loss:             August 26, 2021

159.       On August 26, 2021, Liberty Mutual insureds J.G. and J.G. were found deceased in

   their home after a number of days unattended.

160.       At the relevant time, J.G. was a resident of Loudon County, Tennessee.

161.       In order to remediate the loss, the son of Liberty Mutual’s insureds called

   Aftermath, who came to the property on August 28, 2021. A final invoice for services was

   presented to Liberty Mutual on September 7, 2021.

162.       During the initial walkthrough, despite billing an exorbitant amount of PPE

   materials, Aftermath Supervisor Ethan Lewis was not wearing any suits, masks, gloves, or

   any materials billed in the Supply List.

163.       Furthermore, the Insureds’ son J.G. confirmed that Ethan Lewis falsely billed an

   extra 6 hours of work completed on August 28, 2021 which did not happen.




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164.       Despite billing for a technician’s time on August 28, 2021, the Insured’s son J.G.

   affirmed that Felicia Prince was not present, did not walk into the home, and did not

   complete any work on that first day. In reality, technician Felicia Prince falsely billed 7.5

   hours of work on August 28, 2021.

165.       In addition to the false billing of personnel hours, Aftermath falsely billed 82

   biohazard suits, respirators, and filters, allegedly billing one suit for every hour of work on

   the property, per person.

166.       Despite Aftermath falsely billing for the hourly changes of PPE materials and suits,

   Aftermath Supervisor Ethan Lewis advised that the employees were supposed to wear PPE,

   but they normally did not and after getting used to the work, they did not use all of the PPE

   materials.

d. Liberty Mutual Insured: A.A.
   Liberty Mutual Claim No.: 048700219
   Date of Loss:             March 3, 2022

167.       On March 3, 2022, Liberty Mutual insured A.A. experienced his daughter’s friend

   incur a gunshot loss in a single room, the kitchen of the home.

168.       At the relevant time, J.G. was a resident of Hillsborough County, New Hampshire.

169.       On March 4, 2022, Aftermath was called to the property to clean up the kitchen of

   all biohazard.

170.       Despite being aware of the claim and completing all of the invoiced work on

   property during the day, Aftermath employees did not report the loss and claim for

   payment until 10:19 PM on March 4, 2022.

171.       Aftermath timesheets indicate a Supervisor and Technician arrived on site at 6:00

   am and were on site until 6:00 pm.



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172.       Video camera footage from A.A.’s security cameras, placed in publicly visible

   locations on his personal property (the front door and the back driveway) where no one

   had a reasonable expectation of privacy, instead shows Aftermath employees arriving on

   site at 6:19 am and departing at 5:22 pm.

173.       This video footage also shows the Aftermath duo leaving the property to purchase

   supplies for the job, absent from the property for 1.37 hours and not completing any

   remediation work.

174.       Instead, Aftermath falsely billed those 1.37 hours as working onsite time.

175.       At another point in time, one of the Aftermath employees takes a break for 1.23

   hours, time which is not reflected in the time sheet.

176.       Aftermath falsely billed supplies, including a biohazard suit change for every

   hour, 23 suits in total, yet the Aftermath employees did not enter the home until 6 hours

   after arriving at the property, resulting in 12 falsely billed biohazard suits which were not

   used.

177.       Aftermath also falsely billed for 5 boxes of biohazard waste. Video footage only

   supports the filling of 3 boxes, with two other boxes empty and unused.

178.       One of the 5 billed boxes is seen on video being loaded completed empty into the

   rear of a van.

e. Liberty Mutual Insured: R.R.
   Liberty Mutual Claim No.: 047720305
   Date of Loss:             November 28, 2021

179.       On November 28, 2021, Liberty Mutual’s insured R.R. died by gunshot in the

   garage of his home.

180.       At the relevant time, R.R. was a resident of Hancock County, Illinois.



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  181.       On November 30, 2021, Aftermath was called to the property to clean up the

     kitchen of all biohazard.

  182.       The invoice for Aftermath’s services was not provided until December 7, 2021.

  183.       Aftermath’s employees made statements to the Insured’s son, T.M. that this was a

     smaller remediation job and if the company wasn’t going to make a claim to Liberty

     Mutual for payment, they would have completed the project for only a “cash tip”.

  184.       They indicated this because the project would take them only 30 minutes to clean

     up the home.

  185.       Despite these representations, Aftermath employees billed for 2.25 hours of time

     working onsite. T.M. confirmed the employees were in the van for 1 hour of that time,

     not working or cleaning.

  186.       A Master Shop Manifest – Regulated Medical Waste sheet falsely claims the

     waste was disposed on November 24, 2021, before the waste was even generated.

  187.       The date of loss was November 28, 2021 and Aftermath’s waste manifest

     documents claim that biohazard waste was generated on November 30, 2021.

  VII.    CAUSES OF ACTION

a. COUNT I:

  VIOLATIONS OF 18 U.S.C. § 1962(c)

  a. In each of the Liberty Mutual claims, Aftermath intentionally caused to be prepared and

     submitted false, fraudulent, and/or misleading documentation using the U.S. Mail/wires

     for insurance claims to Liberty Mutual, in furtherance of Aftermath’s scheme to defraud.

  b. Aftermath submitted at least two or more mailings/wires, to demand and/or receive

     payment on certain dates, including, but not limited to, those claims referenced above.



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c. Liberty Mutual routinely corresponded with Aftermath by sending drafts and/or requests

   for further information and/or other letters relating to claims through the U.S. Mail/wires.

d. Correspondence, including but not limited to, claim materials, medical records, reports,

   and other documents were delivered to Liberty Mutual through the U.S. Mail/wires.

e. As a result of this intentionally false, fraudulent, and/or misleading documentation and

   other material misrepresentations, Liberty Mutual by its agents and employees, issued

   payment to Aftermath that would not otherwise have been issued.

f. Aftermath’s fraudulent claims, each appearing legitimate on its face, prevented Liberty

   Mutual from discovering the fraudulent scheme for a long period of time, enabling

   Aftermath to evade detection.

g. Aftermath has knowingly conducted and/or participated, directly or indirectly, in the

   conduct of its affairs through a pattern of racketeering activity consisting of repeated

   violations of the federal wire fraud statute, 18 U.S.C. § 1343, based upon the use of the

   wires in interstate commerce to submit or cause to be submitted hundreds of fraudulent

   invoices for services on a continuous basis for more than three years seeking insurance

   payments under Liberty Mutual insurance policies that Aftermath was never entitled to

   receive because the claims 1) Involved phony services and charges that were not

   necessary, reparative, or in some cases, actually performed; 2) Were the result of illegal,

   deceptive, unfair, and manipulative conduct directed at people taking care of remediation

   or cleaning up of losses at Liberty Mutual insured properties; and 3) Violated the terms

   and conditions of the subject Liberty Mutual policies, under which they were purportedly

   submitted.




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h. A representative sample of the fraudulent bills and corresponding facsimiles submitted to

   Liberty Mutual that comprise, in part, the pattern of racketeering activity identified

   through the date of this Complaint are described, in part, in the chart annexed hereto as

   Exhibit 1.

i. The acts set forth above constitute indictable offenses pursuant to 18 U.S.C. §§ 1341

   (Mail Fraud) and 1343 (wire fraud).

j. Aftermath engaged in a pattern of racketeering activity within the meaning of 18 U.S.C. §

   1962(c).

k. The unlawful activities of Aftermath involve and affect Interstate commerce.

l. Aftermath is engaged in inherently unlawful acts, inasmuch as it continues to submit and

   attempt collection on fraudulent billing submitted to Liberty Mutual and other insurers.

   These inherently unlawful acts are taken by Aftermath in pursuit of inherently unlawful

   goals – namely, the theft of money from Liberty Mutual and other insurers through

   fraudulent biohazard remediation invoicing practices.

m. The activities alleged in this Complaint had the direct effect of causing funds to be

   transferred from Liberty Mutual to pay Aftermath.

n. The activities alleged in this Complaint additionally damaged Liberty Mutual by

   requiring it to expend resources in the investigation of the improper claims.

o. As such, Aftermath constitutes an enterprise that is engaged in activities affecting

   interstate commerce.

p. Moreover, Aftermath has formed an association-in-fact enterprise with an ascertainable

   structure, based upon the relationship between Aftermath and others, and the relatedness




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      of the criminal activities (U.S. Mail/wire fraud) designed with the common purpose of

      defrauding insurance companies, like Liberty Mutual.

   q. Liberty Mutual is in the business of writing insurance and paying legitimate claims

      throughout the United States. Insurance fraud schemes practiced here, and elsewhere,

      adversely affect insurance rates across the country. As such, they harm the public at

      large, and affect interstate commerce.

   r. Liberty Mutual is a “person” that has been injured in its business or property by reason of

      this conduct as defined by 18 U.S.C. § 1961(3).

   s. By virtue of Aftermath’s violations of 18 U.S.C. § 1962(c), Liberty Mutual is entitled to

      recover from Aftermath treble the damages sustained by reason of the claims submitted

      by Aftermath, and others acting in concert with Aftermath, together with the costs of suit,

      including reasonable attorneys’ fees.

WHEREFORE, Liberty Mutual demands judgment against Aftermath as follows:

          a. Actual and consequential damages to be established at trial;

          b. Treble damages, interest, costs and reasonable attorneys’ fees, pursuant to 18

              U.S.C. § 1964(c);

          c. Injunctive relief, pursuant to 18 U.S.C. § 1964(a), enjoining Aftermath from

              engaging in further wrongful activities as alleged in the Complaint and requiring

              them to disclaim all bills and demands for payment,

          d. All other relief this Court deems just.

b. COUNT II:

   UNJUST ENRICHMENT




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  a. As set forth above, Aftermath has engaged in improper, unlawful, and/or unjust acts, all

     to the harm and detriment of Liberty Mutual.

  b. When Liberty Mutual paid the bills and charges submitted or caused to be submitted by

     Aftermath, it reasonably believed that it was legally obligated to make such payments

     based on the Defendant’s improper, unlawful, and/or unjust acts.

  c. The Defendant has been enriched at Liberty Mutual’s expense by Liberty Mutual’s

     payments which constituted a benefit that Aftermath voluntarily accepted

     notwithstanding their improper, unlawful, and unjust billing scheme.

  d. The Defendant’s retention of Liberty Mutual’s payments violates fundamental principles

     of justice, equity and good conscience.

  e. By reason of the above, Aftermath have been unjustly enriched in an amount to be

     determined at trial, but in no event less than $8,500,000.00.

c. COUNT III:

  COMMON LAW FRAUD

  a. Defendant was legally and ethically obligated to act honestly and with integrity in

     connection with their purported performance of the remediation services and their

     submission of charges and invoices to Liberty Mutual.

  b. To induce Liberty Mutual to promptly pay the fraudulent invoices, Aftermath through its

     personnel at all levels has systematically and willfully concealed its fraud, going to great

     lengths to do so.

  c. Aftermath intentionally made, or caused to be made, material misrepresentations to

     Liberty Mutual in connection with demands for payment and invoices for services

     claimed to be completed in insured homes.



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d. Aftermath’s intentional misrepresentations include, but are not limited to, the following:

   (a) creating and submitting false and fraudulent invoices demanding payment for services

   not actually rendered; (b) creating and submitting false and fraudulent invoices

   demanding payment for equipment and supplies not actually used or falsely inflated; (c)

   creating and submitting duplicative charges demanding payment for services already

   rendered and billed; (d) billing for equipment and supplies without reasonable

   verification that such materials actually were needed; (e) creating and submitting false

   and fraudulent invoices charging falsely inflated personnel hourly rates for services of

   unskilled staff and refusing to provide documentation to support the inflated personnel

   hourly rates.

e. Aftermath’s representations were intentionally false, or intentionally omitted additional

   facts necessary, to render the information furnished was not misleading. The

   misrepresentations were intentionally made by Aftermath in furtherance of their scheme

   to defraud Liberty Mutual by submitting non-compensable claims for payment.

f. The foregoing misrepresentations were known by Aftermath to be false, they were made

   by Trudy Martin, scene Supervisors, and other personnel who had executive authority to

   know the representations were false, and were made for the express purpose of inducing

   Liberty Mutual to make payments for claims that were not compensable under applicable

   law.

g. Liberty Mutual reasonably relied upon such material misrepresentations to its detriment

   in paying and investigating numerous unreasonable, unnecessary, inappropriate, and non-

   meritorious invoices for biohazard remediation services performed at insured homes

   under dwelling coverages.



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   h. As a direct and proximate result of Aftermath’s fraudulent representations and acts,

      Liberty Mutual has been damaged as previously described herein.

WHEREFORE, Liberty Mutual respectfully requests that this Honorable Court award:

          a. Damages in an amount to be determined at trial representing the whole of Liberty

              Mutual’s actual, consequential, and incidental damages, loss, detriment, and

              expense caused or occasioned by the actions of Aftermath;

          b. Costs, interest and attorneys’ fees; and,

          c. Any additional relief this Court deems just.

d. COUNT IV:

   UNFAIR OR DECEPTIVE TRADE PRACTICES

   a. Aftermath intentionally engaged in activities constituting trade or commerce from the

      home office in the State of Illinois, where it systematically directed unfair and deceptive

      communications to Liberty Mutual and the contracting customers in that State and in

      other States including Massachusetts.

   b. These activities and communications intentionally induced transactions and conduct,

      including biohazard remediation activities which resulted in fraudulently and inflated

      invoices, which were then transmitted to Liberty Mutual to be paid.

   c. The acts and omissions of Aftermath and its personnel, in furtherance of its scheme to

      defraud Liberty Mutual, including, but not limited to, the conduct alleged above,

      constitute intentionally unfair and deceptive business practices in trade or commerce, as

      set forth in M.G.L. c.93A and M.G.L. c.176D, as well as the laws and regulations

      concerning unfair and deceptive trade practices enacted in other States.




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d. The conduct of Aftermath and its personnel in falsely inducing contracting parties to

   enter into agreements for services, with the intention of passing fraudulent and inflated

   invoices to Liberty Mutual is an unfair act or business practice.

e. Upon information and belief, Aftermath engaged in intentionally misleading conduct, and

   intentionally omitted information necessary for Aftermath’s statements not to be

   misleading.

f. Aftermath intentionally and deceptively advertised and discussed its services with

   contracting parties, including providing absolute assurance that a homeowners’ insurance

   carrier would pay for all of its services, to influence these contracting parties to incur

   charges and fees via Aftermath’s invoice.

g. These invoices and Aftermath’s fraudulent and inflated charges were solely for

   Aftermath’s pecuniary gain and without regard to the contracting parties’ pecuniary

   interests.

h. Aftermath’s personnel actively participated in, planned, and induced the unfair and

   deceptive conduct of Aftermath alleged above, from their positions as Supervisors and

   other home office employees.

i. As a result of the above-described deceptive business practices, Liberty Mutual sustained

   injury and economic damages including, but not limited to:

       a. All monies paid to Aftermath, in reliance on false Aftermath invoiced amounts;

       b. The cost of investigating the claims for insurance payments; and,

       c. The costs incurred in connection with this action (including all attorneys’ fees,

           and costs).




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   j. Aftermath’s actions described were performed knowing and intentionally. Accordingly,

      Liberty Mutual is entitled to actual damages, costs and attorneys' fees.

WHEREFORE, Liberty Mutual demands judgment against Aftermath as follows:

          a. Actual and consequential damages to be established at trial;

          b. Actual damages, interest, costs and reasonable attorneys’ fees;

          c. Injunctive relief enjoining Aftermath from engaging in the wrongful activities

              alleged in the Complaint and requiring them to disclaim all bills and demands for

              payment issued to Liberty Mutual;

          d. Costs and interest; and,

          e. Any other relief this Court deems just.

d. COUNT V:

   TORTIOUS INTERFERENCE WITH A BUSINESS RELATIONSHIP

   a. Aftermath presents invoices pursuant to the existence of Liberty Mutual’s enforceable

      insurance contracts (the homeowners’ policy) between Liberty Mutual and its

      policyholder.

   b. Aftermath is aware of the contractual relationship as they turn to Liberty to payment under

      this contract.

   c. In furtherance of its scheme, Aftermath has intentionally interfered with Liberty Mutual’s

      relationship with its policyholders.

   d. Aftermath has interfered in these relationships through improper means including emails,

      voicemails, telephone communications, and written communications to insureds and

      contracting parties.

   e. In this interference, Aftermath falsely claims that Liberty Mutual is:



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          a. Refusing to extend coverage;

          b. Failing to commit to proper coverages;

          c. Refusing to make fair and equitable settlements of claims;

          d. Withholding payment from Insureds.

   f. As a direct result of Aftermath’s improper communications to insureds, Liberty Mutual has

      lost advantage with its contractual customers.

WHEREFORE, Liberty Mutual demands judgment against Aftermath as follows:

          a. Actual and consequential damages to be established at trial;

          b. Actual damages, interest, costs and reasonable attorneys’ fees;

          c. Injunctive relief enjoining Aftermath from engaging in wrongful communications

              with Liberty Mutual’s policyholders and related contracting parties;

          d. Costs and interest; and,

          e. Any other relief this Court deems just.

f. COUNT VI:

   CONVERSION

   a. In furtherance of its fraudulent scheme, Aftermath conducts excessive, unnecessary, and

      unreasonable demolition of Liberty Mutual insured properties.

   b. In this excessive demolition, Aftermath destroys building materials in homes including

      tile, carpet, wood, vinyl, laminate, concrete, drywall, paint, and other surfaces.

   c. Aftermath takes these materials from the home and destroys them without consent of the

      Insured or Liberty Mutual.

   d. This destruction of materials in the home is contrary to the insured’s interest in the home

      and building materials.



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   e. Aftermath committed this conversion/vandalism when it intentionally damaged the

      insured property when retained to perform remediation services.

   f. Aftermath induced Liberty Mutual to pay for excessive demolition, without provide

      notice, receiving consent, or providing a scope of the services in advance.

   g. Liberty Mutual is entitled to recover those monies paid for the vandalism and damages

      from the conversion.

WHEREFORE, Liberty Mutual respectfully requests that this Honorable Court award:

          a. Damages in an amount to be determined at trial representing the whole of Liberty

                Mutual’s actual, consequential, and incidental damages, loss, detriment, and

                expense caused or occasioned by the actions of Aftermath;

          b. Costs, interest and attorneys’ fees; and,

          c. Any additional relief this Court deems just.

g. COUNT VII:

   RELIEF UNDER 28 U.S.C. § 2201 DECLARATORY JUDGMENT ACT

   a. There is an actual case in controversy between Liberty Mutual and Aftermath regarding

      more than $8,500,000.00 in fraudulent and inflated claims for the purported remediation

      service that Aftermath has submitted to Liberty Mutual.

   b. To be eligible to receive benefits under the policy, an assignee or contracted party must

      comply with the law.

   c. Aftermath made intentional and materially false statements to Liberty Mutual and its

      contracted customer in invoices and claims for payment to improve the appearance of the

      claims.




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   d. Aftermath intentionally submitted unreasonable demands for payment based upon

       undocumented, unsupported, and false claims of equipment usage, chemical usage, false

       and illusory disinfection charges, and fraudulent miscellaneous fees.

   e. Aftermath has demanded payment for services, equipment, and supplies that were

       unnecessary when purportedly issued, resulting in demands by Aftermath for payment for

       unnecessary and unreasonable charges.

   f. Aftermath has intentionally demanded payment for supplies not actually used.

   g. Aftermath has no right to receive payment for any pending invoices submitted to Liberty

       Mutual because of the foregoing.

WHEREFORE, Liberty Mutual demands judgment pursuant to the Declaratory Judgment Act,

28 U.S.C. §§ 2201 and 2202, against Aftermath declaring that:

           a. Aftermath acted unlawfully as set forth above;

           b. Liberty Mutual is entitled to deny past, pending, and future insurance claims from

               Aftermath involving the patterns of conduct set forth above; and,

           c. Aftermaths’ conduct is wrongful and in violation of duties established by law.

   VIII. JURY DEMAND

Liberty Mutual demands a trial by jury on all counts in this Complaint.




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                                           Respectfully Submitted,

                                           LIBERTY MUTUAL INSURANCE
                                           COMPANY, LIBERTY MUTUAL
                                           FIRE INSURANCE COMPANY, and
                                           LIBERTY MUTUAL PERSONAL
                                           INSURANCE COMPANY
                                           By their Attorneys,

                                           //Timothy W. Tapply//
                                           //Shahan J. Kapitanyan//

                                           __________________________
                                           Timothy W. Tapply, BBO# 651558
                                           ttapply@brandtapply.com
                                           Shahan J. Kapitanyan, BBO# 654055
                                           skapitanyan@brandtapply.com
                                           Brand & Tapply LLC
                                           555 Washington Street, Suite 6
                                           Wellesley, MA 02482
                                           Phone: 781-431-7878
Dated: June 30, 2022                       Fax: 781-431-7844




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